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 From:           Lexi Brown
 To:             schleslaw@gmail.com
 Subject:        Re: Mark Holdrens character letter
 Date:           Sunday, March 9, 2025 3:19:34 PM




 Dear judge Goodwin I am Alexis Brown and I have known Mark Holdren since around the
 beginning of 2020 and my relationship with Mark is a friend but he is a lot more then that to
 me he is role model and a father figure to me and my siblings. Mark acknowledges what he
 did was wrong. Mark is one of the sweetest and most selfless person I have ever met. He
 would go out of his way to help anyone whether he knows you or not. He would give you the
 clothes off his back if you needed them. In the time I spent with Mark he never failed to cheer
 me up when I was having a bad day, he’s goofy, funny, and just all around an amazing person.
 I know what he did was wrong and I’m just asking for you to take into consideration that
 outside of what happened Mark is an amazing person. We always need more people like him
 in the world. I wouldn’t be the person I am today if it wasn’t for Marks guidance and life
 lessons. He taught me to be kind to people even if they don’t deserve it because you never
 know what’s going on with them at home. He taught me to give more than you take. He taught
 me how if I want something I have to work for it and if it’s right everything will fall into
 place. I could sit here all day and talk about the impact he’s had on my life and how much he’s
 taught me but I know that isn’t the point of this. Overall Mark is an amazing person and I’d
 love for him to someday meet his granddaughter even tho biologically he’s not my father, he
 will always be another father figure in my life. So please take in consideration how great of a
 person he is, his character and the positive impact Mark has made on many people’s lives.
